Case 2:04-cr-20289-.]DB Document 54 Filed 08/01/05 Page 1 of 2 PagelD 52

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UNlTED STATES OF Al\/lEFllCA,
P|aintiff,

VS.
CFl. NO. 04-20289-!3

BARRY FERGUSON,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August t, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
g§gort date of Mondav. Auqust 29, 2005. at 9:30 a.m., in Courtroom 'I, 11th F|oor of the
Federal Bui|ding, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

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lT ls so oRDERED this l dayo ,2005.

 

.J. o NrEL BREEN \
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This notice confirms a copy of the document docketed as number 54 in
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August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

